              Case 2:20-cv-01146-RSM Document 11 Filed 10/20/20 Page 1 of 2




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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 8   BRUCE ALLEN LEWIS,

 9                                Petitioner,                CASE NO. 2:20-cv-01146-RSM-BAT

10           v.                                              ORDER OF DISMISSAL

11   ISRAEL JACQUEZ ,

12                                Respondent.

13          Having reviewed the Report and Recommendation of the Honorable Brian A. Tsuchida,

14   United States Magistrate Judge and the remaining record, the Court finds and ORDERS:

15          (1)       The Court ADOPTS the Report and Recommendation, Dkt. #10.

16          (2)       Petitioner’s claim seeking release under the CARES Act is dismissed with

17   prejudice; and

18          (3)       Petitioner’s remaining claims are dismissed without prejudice; and

19          (4)       The Clerk is directed to send copies of this Order to the petitioner and to Judge

20   Tsuchida.

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     ORDER OF DISMISSAL - 1
            Case 2:20-cv-01146-RSM Document 11 Filed 10/20/20 Page 2 of 2




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 2         Dated this 20th day of October, 2020.

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 5                                                 A
                                                   RICARDO S. MARTINEZ
 6                                                 CHIEF UNITED STATES DISTRICT JUDGE

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     ORDER OF DISMISSAL - 2
